
44 So.3d 1189 (2010)
STATE FARM FIRE AND CASUALTY COMPANY, Petitioner,
v.
Marlene Joglar PERDOMO, Respondent.
No. 3D09-554.
District Court of Appeal of Florida, Third District.
September 22, 2010.
Kirschbaum Birnbaum Lippman &amp; Gregoire and Nancy W. Gregoire, Fort Lauderdale; Green, Murphy &amp; Murphy and John J. Murphy, Fort Lauderdale, for petitioner.
Lopez &amp; Best and Virginia M. Best; Carlos A. Lopez-Albear, Miami, for respondent.
Before WELLS and LAGOA, JJ., and SCHWARTZ, Senior Judge.
LAGOA, J.
State Farm Fire and Casualty Company petitions this Court for a writ of certiorari *1190 quashing a decision of the circuit court appellate division affirming the county court's entry of summary judgment in favor of Marlene Joglar Perdomo.
We grant the writ and quash the circuit court's decision based on this Court's decisions in Partners in Health Chiropractic v. United Automobile Insurance Co., 21 So.3d 858 (Fla. 3d DCA 2009), United Automobile Insurance Co. v. Metro Injury &amp; Rehab Center, 16 So.3d 897 (Fla. 3d DCA 2009), and United Automobile Insurance Co. v. Comprehensive Health Center, LLC, 26 So.3d 49 (Fla. 3d DCA 2009), all of which hold that, pursuant to section 627.736(7)(a), Florida Statutes (2009), a "valid report" may be based on a physical examination conducted by the treating physician and does not require a physical examination by the reporting physician or an examination conducted on the insurer's behalf. See Partners in Health Chiropractic, 21 So.3d at 864 (a section (7)(a) report "does not have to be predicated on either a physical examination by the reporting physician or on a physical examination conducted on behalf of the insurer (an IME) but may be premised on review of the records of the insured's treating physician"); Metro Injury &amp; Rehab Ctr., 16 So.3d at 900 ("[T]he physician preparing the report ... may base the report on another physician's examination whether an IME or an examination conducted by the treating physician."); Comprehensive Health Ctr., 26 So.3d at 49 ("[A] physician's report ... under section 627.736(7)(a), need not be based on a physical examination conducted by either the reporting physician or by another physician on the insurance company's behalf."); accord Cent. Magnetic Imaging Open MRI of Plantation, Ltd. v. State Farm Fire &amp; Cas. Ins. Co., 22 So.3d 782, 783 (Fla. 4th DCA 2009) (section (7)(a) does not require a personal injury protection insurer to obtain an independent medical examination for purpose of meeting "valid report" provision); United Auto. Ins. Co. v. Hollywood Injury Rehab Ctr., 27 So.3d 743, 744 (Fla. 4th DCA 2010) (same).
Petition granted.
